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                                           July 24, 2024

Via CM/ECF

Chief District Judge Richard Seeborg
San Francisco Courthouse
Courtroom 3 — 17th Floor
450 Golden Gate Avenue, San Francisco, CA 94102

       Re: Rodriguez, et al. v. Google LLC, 3:20-CV-04688-RS

To the Honorable Chief Judge Seeborg and Clerk of the Court:

        With their opposition to Google LLC’s Motion for Summary Judgment (Dkt. 398),
Plaintiffs filed excerpts of the transcript of the deposition of former Google Senior Software
Engineer Blake Lemoine as Exhibit 35 to the Declaration of Mark Mao (Dkt. 398-36). In preparing
for the July 25, 2024 hearing on Google’s summary judgment motion, Plaintiffs discovered that
they inadvertently did not include a relevant portion of that deposition transcript.

        To remedy this, Plaintiffs now respectfully re-file Exhibit 35 to the Declaration of Mark
Mao with that additional, relevant excerpt, adding pages 50 and 51 from the transcript. Plaintiffs
are submitting that Amended Exhibit 35 as Exhibit A to this letter. Plaintiffs appreciate the Court’s
attention to this matter and will be prepared to address any questions during the hearing.

                                                      Sincerely,
                                                      /s/ Mark C. Mao
                                                      Mark C. Mao
